  Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 1 of 16 PageID #: 572



                                                                                                         Brooklyn
                                                                                     1 MetroTech Center, Suite 1701
                                                                                                 Brooklyn, NY 11201
                                                                                                   718.215.5300      P
ABRAMS      FENSTERMAHLLP                                                                 info@abramsiaw.com         E

            ATTORNEYS AT LAW                                Long Island • Brooklyn • White Plains • Rochester • Albany


                                                                                          Alyssa A. Friedman, Esq.
                                                                                  Partner|Healthcare Fraud Chair
                                                                                     AFriedman@Abramslaw.com



                                                                 April 25, 2023

    VIA FEDERAL EXPRESS
    Tracking No. 7719 5644 0574

    Honorable Ramon E. Reyes, Jr.
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

                          Government Employees Insurance Co., et al. v. Ahmad et al.
                          Docket No. l:22-cv-06713-ARR-RER


    Dear Judge Reyes:

             This letter confirms receipt of recent mail in connection with the above-referenced matter
    pending before Your Honor. The mail is postmarked April 13, 2023, and includes a copy of the
    Docket Sheet, docket entries from April 6, 2023, and Plaintiffs letter to the Court dated April 19,
    2023 (enclosed) regarding Mark L. Furman's passing. There was no cover sheet sent with this
    letter, but the envelope is an EDNY envelope.

             On April 11, 2023, the Firm received a call from Your Honor's Chambers regarding this
    matter, which we were unaware of, and immediately investigated at the Firm. Later that day, my
    paralegal Cindy Roldan called Chambers to notify the Court that Mark L. Furman was Of Counsel
    at this firm, in the past. However, he maintained independently his own law office in which he
    handled matters outside of the firm. This was one of those matters.


            Mr. Furman's employment with the Firm ended on March 18, 2022. The signature block
    on the Notice of Appearance filed months later by Mark L. Furman on November 21, 2022(See
    Docket No. 11, attached) has different contact information for Mr. Furman than what appears on
    the Docket Sheet. On the Notice of Appearance, it states,"Law Offices of Mark L. Furman, 22
    Donald Drive, Hastings on Hudson, NY, 10706" and lists a phone number and email address
    associated with his personal firm.
Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 2 of 16 PageID #: 573




A
           It appears in PACER and on the docket sheet that Mr. Furman failed to update his PACER
    login information to reflect his correct address and/or was using the Firm's PACER account
    without authorization to do so after his employment ended in March of2022.

           It is our position that our Firm is not part of this action and respectfully requests to be
    excused from this matter / these discussions as this case was being handled by the Law Offices of
    Mark L. Furman and not Abrams Fensterman, LLP.

           Thank you for your attention to this matter.


                                                                Respectfully submitted,




                                                                Alyssa Friedman
                                                               Partner & Healthcare Fraud Chair
                                                               (718)215-7568
                                                               AFriedman@abramsIaw.com
CLERK OF U.S. DISTRICT COURT
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                                               Alyssa Friedman
                                               Abrams, Fensterman, Fensterman, Eisman/
                                               Formato, Ferrara & Wolf, LLP 1 MetroTech Center,
                                               Suite 1701 Brooklyn, NY 11201




                                       11201
                                                                                                                            Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 3 of 16 PageID #: 574
    Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 4 of 16 PageID #: 575




                                         U.S. District Court
                            Eastern District of New York (Brooklyn)
                 CIVIL DOCKET FOR CASE #: l:22-cv-06713-ARR-RER



Government Employees Insurance Company et al v. Ahmad et al Date Filed: 11/03/2022
Assigned to: Judge Allyne R. Ross                                Jury Demand: Plaintiff
Referred to: Magistrate Judge Ramon E. Reyes, Jr                 Nature of Suit: 470 Racketeer/Corrupt
Cause: 18:1962 Racketeering (RICO)Act                            Organization
                                                                 Jurisdiction: Federal Question

Plaintiff

Government Employees Insurance                     represented by Barry I. Levy
Company                                                          Rivkin Radler LLP
                                                                 926 RXR Plaza
                                                                 Uniondale, NY 11556-0926
                                                                 516 357 3149
                                                                 Fax:516 357-3333
                                                                 Email: barry.levy@rivkin.com
                                                                 ATTORNEY TO BE NOTICED

                                                                 Sean Patrick Gorton
                                                                 Rivkin Radler LLP
                                                                 926 Rxr Plaza
                                                                 Uniondale, NY 11556
                                                                 (516)357-3319
                                                                 Fax:(516)357-3333
                                                                 Email: sean.gorton@rivkin.com
                                                                 ATTORNEY TO BE NOTICED

                                                                 Michael A. Sirignano
                                                                 Rivkin, Radler LLP
                                                                 926 RXR Plaza
                                                                 Uniondale, NY 11556-0926
                                                                 516-357-3073
                                                                 Fax:516-357-3333
                                                                 Email: michael.sirignano@rivkin.com
                                                                 ATTORNEY TO BE NOTICED

Plaintiff

GEICO Indemnity Company                            represented by Barry I. Levy
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Sean Patrick Gorton
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED
   Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 5 of 16 PageID #: 576

                                                      Michael A. Sirignano
                                                      (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff

GEICO General Insurance Company         represented by Barry I. Levy
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED


                                                       Sean Patrick Gorton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


                                                      Michael A. Sirignano
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff

GEICO Casualty Company                  represented by Bariy I. Levy
                                                       (See above for address)
                                                      ATTORNEY TO BE NOTICED


                                                      Scan Patrick Gorton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


                                                      Michael A. Sirignano
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED




Defendant

Riaz Ahmad, M.D.                        represented by Riaz Ahmad, M.D.
                                                      PROSE


                                                       Mark L. Furman
                                                      Abrams, Fensterman, Fensterman, Eisman,
                                                      Formato, Ferrara & Wolf, LLP
                                                       1 MetroTech Center
                                                       Suite 1701
                                                      Brooklyn, NY 11201
                                                      718-215-5300
                                                      Fax:212-279-0600
                                                      Email: mark@markfurmanlaw.com
                                                       TERMINATED: 04/06/202S
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Defendant
   Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 6 of 16 PageID #: 577

Community Medical Care of N.Y., P.C     represented by Community Medical Care of N.Y., P.C
                                                     PROSE


                                                      Mark L. Furman
                                                     (See above for address)
                                                      TERMINATED: 04/06/2023
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant

Comfort Care Medical PLLC               represented by Comfort Care Medical PLLC
                                                     PRO SE


                                                      MarkL. Furman
                                                     (See above for address)
                                                     TERMINATED: 04/06/2023
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant

DLC Comprehensive Medical PLLC          represented by DLC Comprehensive Medical PLLC
                                                     PRO SE


                                                      Mark L. Furman
                                                     (See above for address)
                                                     TERMINATED: 04/06/2023
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant

Ahmad Riaz M.D.(As a Sole               represented by Ahmad Riaz M.D.(As a Sole
Proprietorship)                                      Proprietorship)
                                                     PRO SE


                                                      Mark L. Furman
                                                     (See above for address)
                                                      TERMINATED: 04/06/2023
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant

Riaz Ahmad M.D.(As A Sole               represented by Riaz Ahmad M.D.(As A Sole
Proprietorship)                                      Proprietorship)
                                                     PRO SE


                                                      Mark L. Furman
                                                     (See above for address)
                                                     TERMINATED: 04/06/2023
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
  Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 7 of 16 PageID #: 578


Defendant

John Doe Defendants "1" through "10"


Date Filed    #   Docket Text

                  COMPLAINT against Riaz Ahmad, MD,Ahmad Riaz M.D.(As a Sole Proprietorship),
                  Comfort Care Medical PLLC, Community Medical Care of N.Y., RC., DLC
                  Comprehensive Medical PLLC,John Doe Defendants "1" through 'TO", Riaz Ahmad
                  M.D.(As A Sole Proprietorship) filing fee $ 402, receipt number ANYEDC-16107721
                  Was the Disclosure Statement on Civil Cover Sheet completed - No,, filed by GEICO
                  General Insurance Company, GEICO Indemnity Company, GEICO Casualty Company,
                  Government Employees Insurance Company.(Attachments: #i Civil Cover Sheet,# 2
                  Proposed Summons and Rider,# 3 Exhibit I - Representative Sample of Fraudulent
                  Claims Identified to Date - Community Medical Care of N.Y. P.C.,# 4 Exhibit 2 -
                  Representative Sample of Fraudulent Claims Identified to Date - Comfort Care Medical
                  PLLC,# 5 Exhibit 3 - Representative Sample of Fraudulent Claims Identified to Date -
                  DLC Comprehensive Medical PLLC,# 6 Exhibit 4 - Representative Sample of
                  Fraudulent Claims Identified to Date - Ahmad Riaz MD,# 7 Exhibit 5 - Representative
                  Sample of Fraudulent Claims Identified to Date - Riaz Ahmad MD,# 8 Exhibit 6 -
                  American Institute of Ultrasound Medicine(AIUM)Determination,# 9 Exhibit 7 -
                  American Academy of Neurology(AAN)Report,# U)Exhibit 8 - New York State
                  Workers Compensation Board Mid and Low Back Injury Medical Treatment
                  Guidelines,# il Exhibit 9 - American Association of Neuromuscular and
                  Electrodiagnostic Medicine(AANEM)Recommended Policy)(Sirignano, Michael)
                  (Entered: 11/03/2022)
11/03/2022     2 Corporate Disclosure Statement by GEICO Casualty Company, GEICO General
                 Insurance Company, GEICO Indemnity Company, Government Employees Insurance
                 Company identifying Corporate Parent GEICO Corporation, Other Affiliate Berkshire
                 Hathaway, Inc. for GEICO Casualty Company, GEICO General Insurance Company,
                 GEICO Indemnity Company, Government Employees Insurance Company.(Sirignano,
                  Michael)(Entered: 11/03/2022)
11/07/2022        Case Assigned to Judge Allyne R. Ross and Magistrate Judge Roanne L. Mann. Please
                  download and review the Individual Practices ofthe assigned Judges, located on our
                  website. Attorneys are responsible for providing courtesy copies to judges where their
                  Individual Practices require such.(KD)(Entered: 11/07/2022)
11/07/2022        In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule
                  73.1, the parties are notified that if all parties consent a United States magistrate judge
                  of this court is available to conduct all proceedings in this civil action including a (jury
                  or nonjury) trial and to order the entry of a final judgment. Attached to the Notice is a
                  blank copy of the consent form that should be filled out, signed and filed electronically
                  only if ail parties wish to consent. The form may also be accessed at the following link:
                  http://www.uscourls.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may
                  withhold your consent without adverse substantive consequences. Do NOT return
                  or flic the consent unless all parties have signed the consent.(KD)(Entered:
                  11/07/2022)
11/07/2022     4 This attorney case opening filing has been checked for quality control. See the
                 attachment for corrections that were made,if any.(KD)(Entered: 11/07/2022)
   Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 8 of 16 PageID #: 579

11/07/2022   5 Summons Issued as to Riaz Ahmad, MD,Ahmad Riaz M.D.(As a Sole Proprietorship),
               Comfort Care Medical PLLC, Community Medical Care of N.Y., P.C., DLC
               Comprehensive Medical PLLC.(KD)(Entered: 11/07/2022)
11/07/2022   6 NOTICE of Appearance by Bairy 1. Levy on behalf of GEICO Casualty Company,
               GEICO General Insurance Company, GEICO Indemnity Company, Government
                Employees Insurance Company (aty to be noticed)(Levy, Barry)(Entered: 11/07/2022)
11/07/2022   7 NOTICE of Appearance by Sean Patrick Gorton on behalf of GEICO Casualty
               Company, GEICO General Insurance Company, GEICO Indemnity Company,
               Government Employees Insurance Company (aty to be noticed)(Gorton, Sean)
                (Entered: 11/07/2022)
11/21/2022   8 SUMMONS Returned Executed by GEICO General Insurance Company, GEICO
               Indemnity Company, GEICO Casualty Company, Government Employees Insurance
                Company. Comfort Care Medical PLLC served on 11/14/2022, answer due 12/5/2022.
                (Sirignano, Michael)(Entered: 11/21/2022)
11/21/2022   9 SUMMONS Returned Executed by GEICO General Insurance Company, GEICO
               Indemnity Company, GEICO Casualty Company, Government Employees Insurance
                Company. DLC Comprehensive Medical PLLC served on 11/14/2022, answer due
                 12/5/2022.(Sirignano, Michael)(Entered: 11/21/2022)
11/21/2022   10 SUMMONS Returned Executed by GEICO General Insurance Company, GEICO
                Indemnity Company,GEICO Casualty Company, Government Employees Insurance


11/21/2022
             I  Company. Community Medical Care ofN.Y., P.C. served on 11/14/2022, answer due
                 12/5/2022.(Sirignano, Michael)(Entered: 11/21/2022)
             11 i NOTICE of Appearance by Mark L. Furman on behalf of Riaz Ahmad, MD,Ahmad
                Riaz M.D.(As a Sole Proprietorship), Comfort Care Medical PLLC, Community
                Medical Care of N.Y,P.C., DLC Comprehensive Medical PLLC,Riaz Ahmad M.D.
                (As A Sole Proprietorship)(aty to be noticed)(Furman, Mark)(Entered: 11/21/2022)
11/23/2022      Consent MOTION to Stay Consent Motion to So-Order Stipulation to Stay and Enjoin
                Underlying Collection Proceedings by GEICO Casualty Company,GEICO General
                Insurance Company, GEICO Indemnity Company, Government Employees Insurance
                Company.(Attachments: #i Exhibit A - Stipulation to Stay and Enjoin Collection
                Proceedings)(Gorton, Sean)(Entered: 11/23/2022)
11/28/2022   13 I SUMMONS Returned Executed by GEICO General Insurance Company,GEICO
                Indemnity Company, GEICO Casualty Company, Government Employees Insurance


11/28/2022
             I  Company. Riaz Ahmad, MD served on 11/15/2022, answer due 12/6/2022.(Sirignano,
                 Michael)(Entered: 11/28/2022)
             14 I SUMMONS Returned Executed by GEICO General Insurance Company, GEICO
                Indemnity Company, GEICO Casualty Company, Government Employees Insurance


11/28/2022
             I   Company. Riaz Ahmad M.D.(As A Sole Proprietorship) served on 11/21/2022, answer
                 due 12/12/2022.(Sirignano, Michael)(Entered: 11/28/2022)
             15 I SUMMONS Returned Executed by GEICO General Insurance Company,GEICO
                Indemnity Company, GEICO Casualty Company, Government Employees Insurance

             I  Company. Ahmad Riaz M.D.(As a Sole Proprietorship) served on 11/21/2022, answer
                due 12/12/2022.(Sirignano, Michael)(Entered: 11/28/2022)
  Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 9 of 16 PageID #: 580

11/29/2022   16 ORDER granting re: n STIPULATION TO STAY AND ENJOIN COLLECTION
                PROCEEDINGS BROUGHT IN THE NAMES OF COMMUNITY MEDICAL CARE
                 OF N.Y, P.O., COMFORT CARE MEDICAL PLLC,DLC COMPREHENSIVE
                 MEDICAL PLLC, AHMAD RIAZ M.D., AND RIAZ AHMAD M.D.(Ordered by
                 Judge Allyne R. Ross on 11/28/2022)(RG)(Entered: 11/29/2022)
12/02/2022   17 I MOTION for Extension of Time to File Answer to Complaint by Riaz Ahmad, MD,
                 Ahmad Riaz M.D.(As a Sole Proprietorship), Comfort Care Medical PLLC,



12/02/2022
             I   Community Medical Care of N.Y,P.C., DLC Comprehensive Medical PLLC,Riaz
                 Ahmad M.D.(As A Sole Proprietorship).(Furman, Mark)(Entered: 12/02/2022)
                 ORDER granting T7 Motion for Extension of Time to Answer to January 5, 2023. The

             I   parties' stipulation is so-ordered. Ordered by Magistrate Judge Roanne L. Mann on
                 12/2/2022.(JP)(Entered: 12/02/2022)
             18 I ANSWER to 1 Complaint,,,,,, by Riaz Ahmad, MD,Ahmad Riaz M.D.(As a Sole
                Proprietorship), Comfort Care Medical PLLC, Community Medical Care of N.Y,P.C.,
                DLC Comprehensive Medical PLLC,Riaz Ahmad M.D.(As A Sole Proprietorship).
                (Furman, Mark)(Entered: 01/07/2023)
                Case Reassigned to Magistrate Judge Ramon E. Reyes, Jr. Magistrate Judge Roanne L.
                Mann no longer assigned to the case. Please download and review the Individual
                Practices of the assigned Judges, located on our website. Attorneys are responsible for
                providing courtesy copies to judges where their Individual Practices require such.(JM)
                (Entered: 01/09/2023)

             19 I STATUS REPORT re: Defendants'Counsel hy GEICO Casualty Company, GEICO
                General Insurance Company, GEICO Indemnity Company, Government Employees
                Insurance Company (Gorton, Sean)(Entered: 04/05/2023)
                 ELECTRONIC ORDER: Defendants are directed to retain new counsel within thirty
                 days. If new counsel does not enter a notice of appearance within 30 days, the corporate
                 defendants will be deemed in default and judgment may be entered against them. So
                 Ordered by Magistrate Judge Ramon E. Reyes, Jr on 4/6/2023.(MY)(Entered:
                04/06/2023)
                eORDER re 19 STATUS REPORT re: Defendants' Counsel filed by GEICO Casualty,
                Company et al: Attorney Mark L. Furman terminated. Ordered by Magistrate Judge
                 Ramon E. Reyes, Jr on 4/6/2023.(MY)(Entered: 04/06/2023)
    Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 10 of 16 PageID #: 581


This is an automatic c-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS'^** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
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viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                               U.S. District Court


                                          Eastern District of New York

Notice of Electronic Filing

The following transaction was entered on 4/6/2023 at 11:14 AM EDT and filed on 4/6/2023
Case Name:           Government Employees Insurance Company et al v. Ahmad et al
Case Number:           1:22-cv-06713-ARR-RER
Filer:
Document Number:No document attached


Docket Text:
ELECTRONIC ORDER: Defendants are directed to retain new counsel within thirty days. If new
counsel does not enter a notice of appearance within 30 days, the corporate defendants will
be deemed in default and judgment may be entered against them. So Ordered by Magistrate
Judge Ramon E. Reyes, Jr on 4/6/2023.(MV)


l:22-cv-06713-ARR-RER Notice has been electronically mailed to:

Michael A. Sirignano     michael.sirignano@rivkin.com

Mark L. Furman      mark@markfurmanlaw.com

Barry I. L,evy   bari'y.levy@rivkin.com

Sean Patrick Gorton     sean.gorton@rivkin.com

l:22-cv-06713-ARR-RER Notice will not be electronically mailed to:
   Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 11 of 16 PageID #: 582


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
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apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                             U.S. District Court


                                        Eastern District of New York


Notice of Electronic Filing

The following transaction was entered on 4/6/2023 at Il;27 AM EDT and filed on 4/6/2023
Case Name:           Government Employees Insurance Company et al v. Ahmad et al
Case Number:           1:22-cv-06713-ARR-RER
Filer:
Document Number:No document attached


Docket Text:
eORDER re [19] STATUS REPORT re: Defendants' Counsel filed by GEICO Casualty, Company
et al: Attorney Mark L. Furman terminated. Ordered by Magistrate Judge Ramon E. Reyes, Jr
on 4/6/2023.(MV)


l:22-cv-06713-ARR-RER Notice has been electronically mailed to:

Michael A. Sirignano     michael.sirignano@rivkin.com

Mark L. Furman     mark@markfurmaniaw.com

Barry I. Levy   barry.levy@rivkin.com

Sean Patrick Gorton    sean.gorton@rivkin.com

l:22-cv-06713-ARR-RER Notice will not be electronically mailed to:

Ahmad Riaz M.D.(As a Sole Proprietorship)


Comfort Care Medical PLLC



Community Medical Care of N.Y., P.C.


DEC Comprehensive Medical PLLC
Case 1:22-cv-06713-ARR-RER
   Case                    Document
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WrivkinRadler^      ATTORNEYS AT LAW
                                                                                                       926 RXR Plaza
                                                                                                       Uniondale, NY 11556-0926
                                                                                                       T 516.357.3000 F 516.357.3333



  Sean Gorton
 (516) 357-3319
  sean.oorton@rivkin.com




                                                                             April 5,2023
  VIA ECF
   Honorable Ramon E. Reyes, Jr.
   United States District Court Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

               Re: Government Employees Insurance Co., et al. v. Ahmad, et at.
                         Docket No. l:22-cv-06713rARRVRER)

  Dear Judge Reyes:

  This firm represents Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co., GEICO
  General Insurance Company, and GEICO Casualty Co.(collectively "Plaintiffs" or "GEICO")in the above-
  referenced matter. We respectfully submit -this letter to advise the Court regarding recent developments
  surrounding the representation of Defendants Riaz Ahmad, M.D., Community Medical Care of N.Y.,P.C.,
  Comfort Care Medical PLLC, DEC Comprehensive Medical PLLC, Ahmad Riaz, M.D. (as a sole
  proprietorship), and Riaz Alunad, M.D. (as a sole proprietorship) (collectively, "Defendants" and with
 Plaintiffs, the "Parties").

  Defendants were originally represented by Mark L. Furman, Esq. ofthe Law Offices of Mark L. Furman.
  See Docket No. 11. Plaintiffs' counsel received news that Mr.Furman, unfortunately,passed away in January
 2023. Plaintiffs' counsel was subsequently contacted by an attorney who has represented Defendants in
 various no-fault insurance collection proceedings, who advised, in sum,that Defendants were in the process
 of retaining new counsel in connection with this matter.

  Flowever,to date,no one has appeared on Defendants' behalfand more than forty-five(45)days have elapsed
  since Plaintiffs' counsel was advised that Defendants were in the process of retaining new counsel.
  Accordingly, Plaintiffs respectfully request that the Court issue an Order directing Defendants to retain new
 counsel within thirty (30)days, so that the Parties may commence with discovery.




                                                                       477 Madison Avenue                   2649 South Road
   66 South Pearl Street, ll"" Floor   25 Main Street
                                       Court Plaza North, Suite 501    New York, NY 10022-5843              Poughkecpsic, NY 12601-6843
   Albany, NY 12207-1533
                                       Hadtensack, NJ 07601-7082       T 212.455.9555 F 212.687.9044       T 845.473.8100 F 845.473.8777
   T 518.462.3000 F 518.462.4199
                                       T 201.287.2460 F 201.489.0495
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RIVKIN RADLER LLP

   Honorable Ramon E. Reyes, Jr.
   April 5, 2023


   We thank the Court for its attention to this matter.


                                                          Very truly yours,

                                                          RIVKiN RADLER LLP




                                                          Sean Gorton, Esq.




   6887131.V1
Case 1:22-cv-06713-ARR-RER Document 21 Filed 04/26/23 Page 14 of 16 PageID #: 585

    Case l:22-cv-06713-ARR-RER Document 11 Filed 11/21/22 Page 1 of 2 PagelD #: 496


       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK


       GOVERNMENT EMPLOYEES
       INSURANCE COMPANY,GEICO                              Case No.: 22-cv-06306
       INDEMNITY COMPANY,GEICO
       GENERAL INSURANCE COMPANY                            NOTICE OF APPEARANCE
       and GEICO CASUALTY COMPANY,




                                   Plaintiff,

            -against-

     RIAZ AHMAD, M.D.,COMMUNITY MEDICAL CARE OF N.Y., P.C., COMFORT
     CARE MEDICAL PLLC, DLC COMPREHENSIVE MEDICAL PLLC, AHMAD RIAZ
     M.D.(AS A SOLE PROPRIETORSHIP),RIAZ AHMAD M.D.(AS A SOLE
     PROPRIETORSHIP)and JOHN DOE DEFENDANTS "1" THROUGH "10,"



                                   Defendants.


     COUNSELORS:


      PLEASE TAKE NOTICE that the Defendants RIAZ AHMAD,M.D.,COMMUNITY
       MEDICAL CARE OF N.Y., P.C., COMFORT CARE MEDICAL PLLC,DLC
       COMPREHENSIVE MEDICAL PLLC, AHMAD RIAZ M.D.(AS A SOLE
      PROPRIETORSHIP), RIAZ AHMAD M.D.(AS A SOLE PROPRIETORSHIP) hereby appear
      in the above-captioned action, and that the undersigned has been retained as attorney for said I
      Defendants and hereby demands that copies of all papers in this action be served upon the
      undersigned at the address stated below.

     Dated: Westchester, New York
           November 21 2022

                                                                Law Offices of Mark L. Furman

                                                                Attorneysfor Defendants
                                                                KONATA SOLOMON
                                                                STALLINGS(A Sole
                                                                Proprietorship), and KONATA
                                                                SOLOMON STALLINGS,
                                                                PSY.D.,

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     TO: All parties via EOF




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